
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-137-CV



PETER BERRY	APPELLANT



V.



PEARL MCGEE BY WYNONNA ENGEL PIXELEY (P.O.A.)	APPELLEE



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FROM COUNTY COURT 
AT LAW NO. 2 OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App P.
 
43.4.

PER CURIAM

PANEL D:	WALKER, J.; CAYCE, C.J.; and MCCOY, J.



DELIVERED: June 15, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




